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                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LOWER SUSQUEHANNA RIVERKEEPER            )
ASSOCIATION                              )
                                         )
                                         )
          Plaintiff                      )
                                         )                 Case No._____________
v.                                       )
                                         )
HANOVER FOODS CORPORATION                )
                                         )
          Defendant.                     )
_________________________________________)

                                  COMPLAINT
                            NATURE OF THE CASE
      1.     The Lower Susquehanna Riverkeeper Association (“Plaintiff” or

“Citizens”), by and through their counsel, the Environmental Integrity Project

(“EIP”), file this Complaint against Hanover Foods Corporation (“Hanover Foods”

or “Defendant”) for significant and ongoing violations of the Clean Water Act, 33

U.S.C. § 1251 et seq. (CWA), and Pennsylvania’s Clean Streams Law, the Act of

June 22, 1937, P.L. 1987, as amended, 35 Pa. Cons. Stat. § 691.1 et seq. (CSL), at

Defendant’s food processing facility (the “Facility”), located at 1550 York Street,

Hanover, Pennsylvania 17331-0334, in Penn Township, York County.

      2.     Industrial wastewater generated from the Facility is partially treated at

an on-site industrial wastewater treatment plant (“WWTP”). The WWTP


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discharges partially treated wastewater to Penn Township’s municipal wastewater

treatment plant, which then discharges the wastewater to Oil Creek. The WWTP

also discharges wastewater directly to Oil Creek from Outfall 001.

      3.    Oil Creek—with a watershed of approximately 16.8 square miles—is

a small tributary to Codorus Creek. 1 Pollution from Oil Creek flows downstream

directly into the Codorus Creek, which flows into the Lower Susquehanna River.

      4.    Defendant owns and operates the Facility, including the WWTP.

      5.    On June 29, 2021, Plaintiff sent a Notice of Intent to Sue letter to

Defendant and other recipients as required by section 505(b)(1)(A) of the CWA, 33

U.S.C. § 1365(b)(1)(A), and section 601(e) of the CSL, 35 P.S. § 691.601. Exhibit

1, Lower Susquehanna Riverkeeper Association, Notice of Intent to Sue Hanover

Foods Corporation for Violations of the Clean Water Act and Pennsylvania’s

Clean Streams Law at the Hanover Foods facility in York County, Pennsylvania

(Jun. 29, 2021) (“NOI”).

      6.    The CWA prohibits any person from discharging any pollutant into

waters of the United States from a point source without compliance with a National

Pollutant Discharge Elimination System (“NPDES”) permit. 33 U.S.C. §§ 1311(a),



1
 York County Planning Commission, York County Environmental Resources
Inventory (Feb. 2018), 52-53 available at
https://www.ycpc.org/DocumentCenter/View/285/Environmental-Resources-
Inventory-PDF.
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1342. Pennsylvania’s CSL similarly prohibits the discharge of industrial waste or

pollution into waters of the Commonwealth by any person. 35 P. S. §§ 691.1,

691.301, 691.307, 691.401.

      7.    The Pennsylvania Department of Environmental Protection (“DEP”)

is authorized to administer the CWA’s NPDES permitting program for the

Commonwealth of Pennsylvania. See 33 U.S.C. § 1342; see, e.g., 67 Fed. Reg.

55,841, 55,842 (Aug. 30, 2002) (stating that the Environmental Protection Agency

(“EPA”) delegated to DEP authority to issue NPDES permits on June 30, 1978).

DEP issues NPDES permits pursuant to its authority under the CWA and the CSL.

See, e.g., 25 Pa. Code § 963.1 (defining a “Part I Permit” as an NPDES permit

“issued by the Department under section 5 of The Clean Streams Law (35 P. S. §

691.5) and section 402 of the Clean Water Act (33 U.S.C.A. § 1342).”).

      8.    On September 22, 2015, DEP issued Defendant a renewal of NPDES

Permit No. PA0044741, which became effective on October 1, 2015. Exhibit 1,

NOI, Attachment D, Authorization to Discharge Under the National Pollutant

Discharge Elimination System, Discharge Requirements for Industrial Wastewater

Facilities, NPDES Permit No. PA0044741 (Sept. 22, 2015) (issued to Hanover

Foods Corp, effective Oct. 1, 2015) (the “2015 NPDES Permit”). Although the

2015 NPDES Permit expired on September 30, 2020, it was administratively

continued by DEP and remains in effect.


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      9.     The 2015 NPDES Permit authorizes Defendant to discharge specific

pollutants from the Facility from several permitted outfalls, with specific limits on

several parameters. The 2015 NPDES Permit also imposes monitoring and

reporting requirements pertaining to the discharge and requires proper operation

and maintenance of the WWTP. The 2015 NPDES Permit prohibits the discharge

of any substances that result in observed deposits in the receiving water or that

produce an observed change in the color or turbidity of the receiving water.

      10.    Defendant has discharged, and continues to discharge, through Outfall

001, industrial wastewater containing pollutants at levels that exceed effluent

limitations into Oil Creek, a tributary to Codorus Creek, which flows into the

Susquehanna River.

      11.    Defendant has discharged and, upon information and belief, continues

to discharge, substances that result in observed deposits in Oil Creek and

substances that produce an observed change in the color and turbidity of Oil Creek.

      12.    The 2015 NPDES Permit and all conditions contained therein are each

“a permit or condition of a permit issued under [33 U.S.C. § 1342],” and as such

are each an “effluent standard or limitation” as defined by section 505(f)(7) of the

CWA. 33 U.S.C. § 1365(f)(7).

      13.    Defendant’s discharges of pollutants through Outfall 001 to Oil Creek

in excess of the 2015 NPDES Permit effluent limits and failures to comply with


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other permit limits and conditions violate the 2015 NPDES Permit and also

constitute violations of the CWA and the CSL.

      14.    The Penn Township Wastewater Treatment Plant (“Penn Township

WWTP”) administers a pretreatment program, approved by the regional

administrator of the EPA in accordance with 40 C.F.R. § 403.11. According to its

pretreatment program, Penn Township WWTP sets pretreatment standards and

issues pretreatment permits to industrial facilities that discharge to it.

      15.    Defendant holds a pretreatment permit issued by the Penn Township

WWTP, effective January 1, 2021, authorizing effluent discharge from the Facility

to the Penn Township WWTP according to its terms. Exhibit 1, NOI, Attachment

L, Penn Township Wastewater Treatment Plant Industrial Wastewater Discharge

Permit, Permit No. 2021-4 (the “2021 Pretreatment Permit”).

      16.    Previously, Defendant held a permit issued by Penn Township

WWTP, effective January 1, 2016 to December 31, 2020, which authorized

effluent discharge from the Facility to the Penn Township WWTP according to its

terms. Exhibit 1, NOI, Attachment M, Penn Township Wastewater Treatment Plant

Industrial Wastewater Discharge Permit, Permit No. 2016-4 (the “2016

Pretreatment Permit”).

      17.    Defendant has discharged and, upon information and belief, continues

to discharge, effluent to the Penn Township WWTP at a flow rate, and/or with


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pollutant loads, that exceed permitted levels, in violation of the 2016 and 2021

Pretreatment Permits.

      18.    The limits and conditions contained in the 2016 Pretreatment Permit

and the 2021 Pretreatment Permit are each a “prohibition, effluent standard or

pretreatment standard” under section 307 of the CWA, and as such are each an

“effluent standard or limitation” as defined by section 505(f)(4) of the CWA. 33

U.S.C. § 1365(f)(4).

      19.    Defendant’s discharges of effluent to Penn Township WWTP violated

the requirements of the 2016 Pretreatment Permit and continue to violate the

requirements of the 2021 Pretreatment Permit; these violations also constitute

violations of the CWA.

      20.    Section 505(a)(1) of the CWA authorizes Citizens to bring suit for

violations of the CWA and Defendant’s 2015 NPDES Permit, 2016 Pretreatment

Permit, and 2021 Pretreatment Permit. 33 U.S.C. § 1365(a)(1).

      21.    Section 601(c) of the CSL authorizes Citizens to commence a civil

suit against Defendant to compel compliance with the CSL and the 2015 NPDES

Permit. 35 P.S. § 691.601(c).

      22.    Citizens have satisfied the sixty-day notice provision in section

505(b)(1)(A) of the CWA and section 601(e) of the CSL and no bar to citizen

enforcement exists pursuant to section 505(b)(1)(B) of the CWA or section 601(e)


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of the CSL because neither EPA nor DEP has commenced a civil or criminal

enforcement action in federal or state court, and the violations alleged in the NOI

and this Complaint will continue until this Court orders Defendant to abate the

violations and take all steps necessary to come into full compliance with the CWA

and CSL.

                           JURISDICTION AND VENUE

       23.    This Court has subject matter jurisdiction over this action pursuant to

33 U.S.C. § 1365(a) (regarding citizens’ suits under the CWA) and 28 U.S.C.

§ 1331 (federal question jurisdiction), and supplemental jurisdiction regarding the

CSL claims pursuant to 28 U.S.C. § 1367(a).

       24.    Pursuant to CWA section 505(c), 33 U.S.C. § 1365(c), venue is proper

because the Facility is located in this judicial district.

       25.    Pursuant to section 505(b)(1)(A) of the CWA, 33 U.S.C.

§ 1365(b)(1)(A), Citizens gave notice more than sixty days prior to the

commencement of this action to all required parties, including: 1) Defendant; 2)

DEP; and 3) EPA. See Exhibit 1, NOI.

       26.    Neither EPA nor the Commonwealth of Pennsylvania has commenced

or is diligently prosecuting a civil or criminal action against Defendant in a court

of the United States or the Commonwealth of Pennsylvania to require compliance




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with the laws, rules, regulations, permits, standards, limitations, or orders at issue

in this case.

       27.      As explained below, Defendant has discharged and continues to

discharge pollutants in violation of the numeric limitations contained in the 2015

NPDES Permit and is failing to adhere to other permit conditions and limitations,

in violation of the CWA and the CSL. The Defendant also has discharged and

continues to discharge wastewater to Penn Township WWTP in excess of its flow

and pollution limits pursuant to the 2016 Pretreatment Permit and 2021

Pretreatment Permit, in violation of the permits and the CWA. Defendant is not

operating and maintaining the Facility, including the WWTP, sufficiently to ensure

compliance. Therefore, the violations alleged herein will continue until this Court

enjoins Defendant from discharging in violation of the applicable permits, the

CWA, and the CSL, and orders Defendant to address and remedy the underlying

causes of the violations.

                                      PARTIES

       28.      Plaintiff Lower Susquehanna Riverkeeper Association (“LSRA”) is a

501(c)(3) nonprofit watershed association licensed by the Waterkeeper® Alliance

on September 15, 2005. LSRA is dedicated to improving and protecting the

ecological integrity of the Susquehanna Watershed and the Chesapeake Bay by

identifying sources of pollution and enforcing environmental laws. LSRA also


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actively educates the public on current water quality issues, works with decision-

makers to emphasize the economic and social benefits of protecting our watershed,

and, when necessary, enforces laws protecting communities and natural resources

of the Susquehanna Watershed.

      29.       LSRA members include avid kayakers, anglers, bird watchers,

business owners, and other users of the Lower Susquehanna River and its

tributaries, including the Codorus Creek, into which Oil Creek flows, and the

Lower Susquehanna River Watershed. These members have been injured and will

continue to be injured by Defendant’s pollution that violates environmental laws,

as described herein, as these violations threaten members’ use and enjoyment of

Codorus Creek and the Lower Susquehanna River.

      30.       Defendant is a Pennsylvania corporation, registered to conduct

business in the Commonwealth of Pennsylvania. Defendant is a “person” as that

term is defined in CWA section 502(5) and CSL section 1. 33 U.S.C. § 1362(5); 35

P.S. § 691.1.

      31.       Defendant maintains a business address of 1486 York Street, P.O.

Box 334, Hanover, Pennsylvania, 17331-9570.




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                                   STANDING

      32.   Members of LSRA live, work, and/or recreate within the Lower

Susquehanna River Watershed and have been adversely affected by Defendant’s

long-standing failure to comply with its permits, the CWA, and the CSL.

      33.   Defendant’s discharges of pollution into Oil Creek, which flows

directly into Codorus Creek, have negatively impacted LSRA members’ use and

enjoyment of the Lower Susquehanna River Watershed, including Codorus Creek.

LSRA members have observed sediment and turbidity in Codorus Creek near the

confluence with Oil Creek and are concerned about the effects of Defendant’s non-

compliance and pollution on Oil Creek, Codorus Creek, and the Lower

Susquehanna River and wildlife, and on their enjoyment of recreational activities,

such as fishing, kayaking, and canoeing on the Codorus Creek and the Lower

Susquehanna River, and hiking and biking on trails along the Codorus Creek and

the Lower Susquehanna River.

      34.    LSRA members would enjoy recreating near Oil Creek and on the

Codorus Creek and the Lower Susquehanna River more if Defendant were required

to comply with the terms of its permits and remediate the harm caused by the

violations described in this Complaint.




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      35.    Plaintiff brings this action on behalf of itself and its members. The

interests that Plaintiff seeks to protect are germane to the organization’s mission

and interests.

      36.    These injuries to Plaintiff and its members would be redressed by a

declaratory judgment that Defendant is in violation of its permits, the CWA and

CSL; an injunction preventing Defendant from further violating its permits, the

CWA, and CSL; and an order requiring Defendant to assess and remediate the

harm caused by its violations and imposing civil penalties and the costs of

litigation, including attorney’s fees and future oversight costs.

      37.    Neither the claims asserted nor the relief requested requires the

participation of individual members of LSRA in this action.

      38.    Plaintiff has standing to bring this complaint. See, e.g., Friends of the

Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 181–84 (2000).

                            LEGAL REQUIREMENTS

                                The Clean Water Act

      39.    Section 301(a) of the CWA, 33 U.S.C. § 1311(a), prohibits the

“discharge of pollutants,” except in compliance with the CWA, including

conditions of a NPDES permit issued under section 402, 33 U.S.C. § 1342.

      40.    Section 402 of the CWA, 33 U.S.C. § 1342, created the NPDES

program, under which EPA may issue NPDES permits for point source discharges


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to waters of the United States. Section 402(b) of the Act, 33 U.S.C. § 1342(b),

authorizes the EPA Administrator to delegate to the states the authority to issue

NPDES permits. The Commonwealth of Pennsylvania, through DEP, was

delegated the authority to issue NPDES permits on June 30, 1978, and has been

implementing the federal permitting program since that date. See 67 Fed. Reg.

55,841-01, 55,842.

      41.    The term “discharge of pollutants” is defined in section 502(12) of the

CWA, 33 U.S.C. § 1362(12), to mean “any addition of any pollutant to navigable

waters from any point source . . . .”

      42.    Defendant discharges pollutants as that term is defined in section

502(12) of the CWA, 33 U.S.C. § 1362(12).

      43.    The term “pollutant” is defined in section 502(6) of the CWA, 33

U.S.C. § 1362(6), to include “solid waste,” “biological materials, radioactive

materials, heat,” and “industrial . . . waste discharged into water.”

      44.    The wastewater discharged from Defendant’s Facility, including the

WWTP, contains “pollutants” as defined in section 502(6) of the CWA, 33 U.S.C.

§ 1362(6).

      45.    “Navigable waters” means “the waters of the United States . . . .” Id.

§ 1362(7).




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       46.    The term “waters of the United States” includes “(i) The territorial

seas, and waters which are currently used, or were used in the past, or may be

susceptible to use in interstate or foreign commerce, including waters which are

subject to the ebb and flow of the tide; . . .” and “(ii) Tributaries.” 40 C.F.R. §

120.2(1)(i), (ii).

       47.    The term “tributary” means “a river, stream, or similar naturally

occurring surface water channel that contributes surface water flow to a water

identified in paragraph (1)(i) of this definition in a typical year either directly or

through one or more waters identified in paragraph (1)(ii) [tributaries], (iii) [lakes

and ponds, and impoundments of jurisdictional waters], or (iv) [adjacent wetlands]

of this definition. A tributary must be perennial or intermittent in a typical year.”

40 C.F.R. § 120.2(3)(xii).

       48.    Oil Creek and the unnamed tributaries to Oil Creek into which

Outfalls 002 and 003 discharge are “navigable waters” and therefore “waters of the

United Sates” as those terms are defined in section 502(7) of the CWA, 33 U.S.C.

§ 1362(7), and 40 C.F.R. § 120.2(1)(i) and (ii).

       49.    “The term ‘point source’ means any discernible, confined and discrete

conveyance, including but not limited to any pipe, ditch, channel, tunnel . . . from

which pollutants are or may be discharged. . . .” Id. § 1362(14).




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      50.     Outfalls 001, 002, and 003 are “point sources” as defined in section

502(14) of the CWA, 33 U.S.C. § 1362(14).

      51.     “The term ‘person’ means an individual, corporation, partnership,

association, State, municipality, commission, or political subdivision of a State, or

any interstate body.” 33 U.S.C. § 1362(5). As stated in Paragraph 30, Defendant is

a “person”.

      52.     Section 307(b) of the CWA, 33 U.S.C. § 1317(b), directs EPA to

publish regulations establishing pretreatment standards governing the introduction

of pollutants into Publicly Owned Treatment Works (“POTWs”) that are

determined not to be susceptible to treatment by such POTWs or that would

interfere with the operation of such POTWs. See 40 C.F.R. § 403.

      53.     Section 307(d) of the CWA, 33 U.S.C. § 1317(d), provides that it

shall be unlawful for any owner or operator of any source to operate any source in

violation of any effluent standard or prohibition or pretreatment standard

promulgated under section 307.

      54.     Defendant is the “owner and operator” of the Facility, including the

WWTP, as per section 307(d) of the CWA, 33 U.S.C. § 1317(d).

      55.     A POTW is a treatment works which is owned by a State or

municipality. 40 C.F.R. § 403.3(q).

      56.     Penn Township WWTP is a POTW as per 40 C.F.R. § 403.3(q).


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      57.    Pursuant to 40 C.F.R. § 403.8, Penn Township WWTP is required to

establish a pretreatment program.

      58.    In accordance with 40 C.F.R. § 403.8, Penn Township WWTP

established and implements an approved pretreatment program. Penn Township

promulgated Sewer Use Ordinance No. 683 “Sewer System Use,” which set

pretreatment standards and required permits and reports related to such standards.

      59.    40 C.F.R. § 403.5(c) requires a POTW with a pretreatment program to

develop and enforce specific limits on pollutants that may be introduced to the

POTW.

      60.    Pursuant to 40 C.F.R. § 403.5(d), prohibitions or limits developed by

a POTW in accordance with 40 C.F.R. § 403.5(c) constitute pretreatment standards

that are federally enforceable pursuant to section 307(d) of the CWA, 33 U.S.C. §

1317(d).

      61.    Pursuant to section 4.3 of Ordinance No. 683, Penn Township WWTP

issued Defendant a wastewater discharge permit, the 2016 Pretreatment Permit,

and subsequently the 2021 Pretreatment Permit, to discharge wastewater from the

Facility to the Penn Township WWTP.

      62.    Section 505(a)(1)(A) of the CWA states that citizens are entitled to

bring suit against “any person . . . alleged to be in violation” of an “effluent

standard or limitation” established under the CWA as defined in section 505(f),


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which includes “a permit or condition of a permit issued under section 1342 of [the

CWA]” and a “prohibition, effluent standard or pretreatment standards” under

section 307 of the CWA. 33 U.S.C. §§ 1365(a)(1)(A), 1365(f)(4), (7).

      63.    The 2015 NPDES Permit and all conditions contained therein are each

“a permit or condition of a permit issued under [33 U.S.C. § 1342],” and as such

are each an “effluent standard or limitation” as defined by section 505(f)(7) of the

CWA. 33 U.S.C. § 1365(f)(7).

      64.    The limits and conditions contained in the 2016 Pretreatment Permit

and the 2021 Pretreatment Permit are each a “prohibition, effluent standard or

pretreatment standard” under section 307 of the CWA, and as such are each an

“effluent standard or limitation” as defined by section 505(f)(4) of the CWA. 33

U.S.C. § 1365(f)(4).

      65.    Any person who violates, inter alia, section 301 or 307 of the CWA,

33 U.S.C. §§ 1311, 1317, or who violates any condition or limitation of a NPDES

permit issued pursuant to section 402 of the CWA, 33 U.S.C. § 1342, shall be

subject to a civil penalty of up to $56,460 per day for each CWA or permit

violation that occurred after November 2, 2015, where penalties are assessed on or

after December 23, 2020. 33 U.S.C. § 1319(d) (providing that any person who

violates these sections of the CWA or any condition or limitation of a NPDES

permit shall be subject to a civil penalty of up to $25,000 per day for each


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violation); statutory civil monetary penalties, as adjusted for inflation, and tables,

40 C.F.R. § 19.4 tbl 1 (Dec. 23, 2020) (updating $25,000 per day civil penalty for

inflation to $56,460, for 33 U.S.C. § 1319(d) violations that occurred after

November 2, 2015, where penalties are assessed on or after December 23, 2020).

                        The Pennsylvania Clean Streams Law

      66.    Sections 301 and 307 of the CSL similarly prohibit any person from

discharging “industrial wastes” into waters of the Commonwealth, unless in

compliance with a permit issued by DEP or the rules and regulations of DEP, and

section 401 of the CSL further prohibits any person from “permit[ting] to be

discharged from property owned or occupied by such person . . . into any of the

waters of the Commonwealth, any substance of any kind or character resulting in

pollution as herein defined.” 35 P.S. §§ 691.301, 691.307, 691.401.

      67.    The CSL defines “Waters of the Commonwealth” to include “any and

all rivers, streams, creeks . . . and all other bodies or channels of conveyance of

surface and underground water, or parts thereof, whether natural or artificial,

within or on the boundaries of this Commonwealth.” 35 P.S. § 691.1.

      68.    Oil Creek and the unnamed tributaries into which Outfalls 002 and

003 discharge are “Waters of the Commonwealth” as defined in section 1 of the

CSL, 35 P.S. § 691.1.




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         69.   Under the CSL, “[i]ndustrial waste” means “any liquid, gaseous,

radioactive, solid or other substance, not sewage, resulting from any manufacturing

or industry, or from any establishment, as herein defined, and mine drainage,

refuse, silt, coal mine solids, rock, debris, dirt and clay from coal mines, coal

collieries, breakers or other coal processing operations,” including “all such

substances whether or not generally characterized as waste.” Id.

         70.   Defendant’s wastewater is “industrial waste” as defined in section 1 of

the CSL, 35 P.S. § 691.1.

         71.   Under the CSL, “person” includes “any natural person, partnership,

association or corporation . . . .” Id.

         72.   Defendant is a “person” as defined in section 1 of the CSL, 35 P.S. §

691.1.

         73.   Plaintiff is a “person” as that term is defined in section 1 of the CSL.

35 P.S. § 691.1.

         74.   Under the CSL:

         “Pollution” shall be construed to mean contamination of any waters of
         the Commonwealth such as will create or is likely to create a nuisance
         or to render such waters harmful, detrimental or injurious to public
         health, safety or welfare, or to domestic, municipal, commercial,
         industrial, agricultural, recreational, or other legitimate beneficial uses,
         or to livestock, wild animals, birds, fish or other aquatic life, including
         but not limited to such contamination by alteration of the physical,
         chemical or biological properties of such waters, or change in
         temperature, taste, color or odor thereof, or the discharge of any liquid,
         gaseous, radioactive, solid or other substances into such waters. The
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       department shall determine when a discharge constitutes pollution, as
       herein defined, and shall establish standards whereby and wherefrom it
       can be ascertained and determined whether any such discharge does or
       does not constitute pollution as herein defined.

Id.

       75.     Defendant’s discharges to Waters of the Commonwealth constitute

“pollution” as defined in section 1 of the CSL, 35 P.S. § 691.1.

       76.     Under CSL regulations, “owner” means the “person or other legal

entity holding legal title to a facility or activity subject to this chapter.” 25 Pa.

Code § 91.1.

       77.     Defendant is the “owner” of the Facility, including the WWTP,

pursuant to 25 Pa. Code § 91.1.

       78.     Section 601(c) of the CSL authorizes “any person having an interest

which is or may be adversely affected” to commence a civil action to “compel

compliance with this act or any rule, regulation, order or permit issued pursuant to

this act . . . against any other person alleged to be in violation of any provision of

this act or any rule, regulation, order or permit issued pursuant to this act.” 35 P.S.

§ 691.601(c).

       79.     Plaintiff has an interest which is or may be adversely affected by

Defendant’s permit violations.




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      80.    Any person who violates the CSL, or a permit or regulation issued

pursuant thereto, can be subject to a civil penalty of up to $10,000 per violation per

day. 35 P.S. § 691.605(a).

                             FACTUAL ALLEGATIONS

                                  Hanover Foods

      81.    The Hanover Foods Facility produces canned, glass packed and frozen

vegetable goods. During food processing operations, the Facility generates cooling

water 2 and process wastewater. The WWTP receives both the industrial process

wastewater from the canning operations and the cooling water.

      82.    The WWTP provides pretreatment for the industrial process

wastewater from the Facility operations before sending approximately 0.450

millions of gallons per day (mgd), on average, 3 of the wastewater to Penn

Township WWTP for further treatment and discharge to Oil Creek. The remainder

of the industrial process wastewater is combined with the cooling water and, after

some additional treatment, is discharged to Oil Creek through Outfall 001 at an



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  Though this cooling water should not be considered “non-contact cooling water”
because it comes into contact with cans in the cooling process and could be
contaminated by any spillage from the cans, DEP documents refer to it as “non-
contact cooling water.” In this Complaint, Plaintiff refers to it simply as “cooling
water.”
3
  Based on the average daily discharge reported on Defendant’s 2020 application
for renewal of its Industrial Wastewater Discharge Permit from Penn Township
WWTP.
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average flow of 0.563 mgd. 4 The Facility also discharges industrial stormwater

through Outfalls 002, 003, and 004.

      83.    For pretreatment of the industrial wastewater, solids are screened and

removed before the flow enters the grit removal chamber. The industrial

wastewater is then pumped to one of two anaerobic bio-reactors, where sludge is

removed. From each of the two bio-reactors (“bio-reactor #1 and #2”), the

industrial wastewater flows to a flow splitter that diverts flow between two

clarifiers. Bio-reactor #1 feeds into clarifiers #1 and #2 and bio-reactor #2 feeds

into clarifiers #3 and #4. Effluent from the clarifiers then flows to aeration lagoon

#1, where it is sampled before the majority is sent to Penn Township WWTP for

final treatment.

      84.    The industrial wastewater that is not discharged to the Penn Township

WWTP exits aeration lagoon #1 and enters aeration lagoon #2, which also receives

the cooling water from the Facility. The combined industrial wastewater and

cooling water discharges from lagoon #2 into two polishing ponds before

undergoing ultraviolet (UV) disinfection. The wastewater is then sampled prior to

discharge through Outfall 001 into Oil Creek.




4
 Based on the average flow during production/operation reported on Defendant’s
2020 application for renewal of the 2015 NPDES Permit.
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      85.    Outfalls 002, 003, and 004 each discharge stormwater. Outfall 002

receives flow from a spring and stormwater runoff from roadways and the Facility,

and Outfall 003 receives stormwater flow from a waste storage area, both

discharging to an unnamed tributary of Oil Creek. Outfall 004 is a spillway for a

stormwater detention basin that discharges into a wetland area leading to an

unnamed tributary of Oil Creek. Outfalls 002 and 003 must be monitored annually,

but no monitoring is required for Outfall 004 because the detention basin receives

runoff from areas of the Facility where little or no material handling occurs.

      86.    Defendant has applied for an amendment to a Water Quality

Management, Part II Permit, to construct heat transfer facilities to add to the

WWTP treatment system. According to DEP’s eFACTS online portal, DEP’s

target date for completing the technical review of the Water Quality Management

Permit application is December 10, 2021. 5 Upon information and belief, this

project is not likely to fully address the violations alleged in this Complaint.

Discovery is necessary to fully investigate the violations at the Facility and

determine appropriate remedies.




5
 Pennsylvania Department of Environmental Protection, eFACTS on the Web,
Authorization Search Details,
https://www.ahs.dep.pa.gov/eFACTSWeb/searchResults_singleAuth.aspx?AuthID
=1360628.
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                              The 2015 NPDES Permit

      87.     The 2015 NPDES Permit authorizes Defendant to discharge

wastewater and stormwater, subject to effluent limitations and conditions.

      88.     Defendant’s discharge from Outfall 001 is subject to, inter alia, the

following effluent limitations:

            a. Carbonaceous Biochemical Oxygen Demand (CBOD5) 6

                i.   May 1 – Oct. 31: monthly average concentration 10 mg/L,

                     monthly average load 70 lbs/day, daily maximum concentration

                     15 mg/L, daily maximum load 105 lbs/day, instantaneous

                     maximum concentration 20 mg/L

               ii.   Nov. 1 – Apr. 30: monthly average concentration 18 mg/L,

                     monthly average load 126 lbs/day, daily maximum

                     concentration 27 mg/L, daily maximum load 189 lbs/day,

                     instantaneous maximum concentration 36 mg/L




6
  “Carbonaceous Biochemical Oxygen Demand (CBOD) represents the
Biochemical Oxygen Demand (BOD) from organic (carbon-containing)
compounds, as well as the oxidation of inorganic compounds such as ferrous iron
and sulfide.” What is CBOD?, Hach,
https://support.hach.com/app/answers/answer_view/a_id/1000102/~/what-is-
cbod%3F- (last visited Sept. 22, 2021). CBOD5 represents the quantity of oxygen
utilized for the biochemical degradation of organic matter under standard
laboratory procedures in five (5) days in the presence of a nitrification inhibitor.
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 b. Total Suspended Solids (TSS)

      i.   Monthly average concentration 30 mg/L, monthly average load

           210 lbs/day, daily maximum concentration 60 mg/L, daily

           maximum load 420 lbs/day, instantaneous maximum

           concentration 75 mg/L

 c. Fecal Coliform

      i.   May 1 – Sep. 30: geometric mean concentration 200 CFU/100

           ml, instantaneous maximum concentration 1,000 CFU/100 ml

     ii.   Oct. 1 – Apr. 30: geometric mean concentration 2,000 CFU/100

           ml, instantaneous maximum concentration 10,000 CFU/100 ml

 d. Ammonia-Nitrogen

      i.   May 1 – Oct. 31: monthly average concentration 1.0 mg/L,

           monthly average load 7.0 lbs/day, daily maximum

           concentration 2.0 mg/L, daily maximum load 14 lbs/day,

           instantaneous maximum concentration 2.5 mg/L

     ii.   Nov. 1 – Apr. 30: monthly average concentration 3.0 mg/L,

           monthly average load 21 lbs/day, daily maximum concentration

           6.0 mg/L, daily maximum load 42 lbs/day, instantaneous

           maximum concentration 7.5 mg/L




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 e. Dissolved Oxygen (DO)

      i.   Minimum concentration of 5.0 mg/L

 f. Temperature

      i.   Beginning October 1, 2018, daily maximum limitations of:

                    Date             Limit (°F)
                    Jan. 1-30        51
                    Feb. 1-29        52
                    Mar. 1-31        74
                    Apr. 1-15        83
                    Apr. 16-30       89
                    May 1-15         85
                    May 16-31        106
                    Jun. 1-15        106
                    Jun. 16-30       110
                    Jul. 1-31        101
                    Aug. 1-31        99
                    Sep. 1-15        94
                    Sep. 16-30       88
                    Oct. 1-15        82
                    Oct. 16-31       76
                    Nov. 1-15        69
                    Nov. 16-30       59
                    Dec. 1-31        50

 g. Annual Net Total Nitrogen

     i. Beginning October 1, 2017, annual maximum load limit of 26,385

       lbs/yr

 h. Annual Net Total Phosphorus

     i. Beginning October 1, 2017, annual maximum load limit of 979

       lbs/yr

                                25
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       89.    The 2015 NPDES Permit prohibits certain discharges, including

“[f]loating solids, scum, sheen or substances that result in observed deposits in the

receiving water” and “[f]oam or substances that produce an observed change in the

color, taste, odor or turbidity of the receiving water . . . .”

       90.    The 2015 NPDES Permit requires proper operation and maintenance

of the facilities and systems of treatment and control.

                      The 2016 and 2021 Pretreatment Permits

       91.    The 2016 Pretreatment Permit was effective from January 1, 2016 to

December 31, 2020. The 2021 Pretreatment Permit became effective January 1,

2021 and expires December 31, 2025.

       92.    The 2016 Pretreatment Permit authorized Defendant to discharge

industrial wastewater from the WWTP to Penn Township WWTP, pursuant to the

permit terms, which included pollutant monitoring and reporting requirements,

specific discharge limits, and limits on the average monthly flow and peak

maximum flow to Penn Township WWTP. The 2016 Pretreatment Permit set forth,

among others, specific discharge limits for daily maximum loads of BOD, TSS,

and ammonia-nitrogen:

                        Parameter         Limits (lbs/day)
                        BOD               1500
                        TSS               4000
                        Ammonia-          225
                        Nitrogen

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       93.    According to the 2016 Pretreatment Permit, the discharge of

wastewater from the WWTP to Penn Township WWTP must not exceed an

average monthly flow of 450,000 gallons per day (0.450 mgd) or a peak maximum

daily flow of 700,000 gallons per day (0.700 mgd).

       94.    The 2021 Pretreatment Permit increased the limit for daily maximum

load of BOD from 1,500 pounds per day to 2,300 pounds per day but retained all

other limits, including the limits on the average monthly flow and peak maximum

daily flow.

       95.    Upon information and belief, Penn Township has not taken

enforcement action against Defendant regarding pretreatment permit violations in

the last five years.

                               Receiving Water Body

       96.    Outfall 001 discharges directly to Oil Creek, Outfalls 002 and 003

discharge to an unnamed tributary to Oil Creek, and Outfall 004 discharges into

wetlands leading to an unnamed tributary of Oil Creek.

       97.    Oil Creek is a tributary to the Codorus Creek, which feeds the Lower

Susquehanna River. Segments of Oil Creek are impaired for nutrients, pathogens,

and siltation. The segments downstream of Defendant’s discharge are impaired for

siltation and nutrients. There is a 2003 Total Maximum Daily Load for sediment

based on siltation impairments for a segment of Oil Creek that begins east of


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Hanover, Pennsylvania, and ends shortly before the creek crosses into Heidelberg

Township. Protected uses of Oil Creek include aquatic life and recreation. Oil

Creek is classified as a Warm Water Fishery under DEP’s regulations. 25 Pa Code

§ 93.9o.

       98.    Codorus Creek is a popular fishing stream, and many segments have a

designated use for high quality-cold water fishes. Upstream of the confluence with

Oil Creek, the designated use of the Codorus Creek is consistently high quality-

cold water fishes, whereas immediately downstream of the confluence with Oil

Creek, the designated use is generally warm water fishes.

                              CAUSES OF ACTION

Count 1: Violations of Effluent Concentration Limitations of the 2015 NPDES
Permit
       99.    Each paragraph alleged above is incorporated by reference herein as if

restated in full.

       100. The 2015 NPDES Permit imposes effluent concentration limits for

several pollutants discharged from Outfall 001.

       101. Defendant has been in violation of its CBOD5, TSS, ammonia-

nitrogen, fecal coliform, and dissolved oxygen effluent concentration limitations

for Outfall 001 eighty-four times in the last five years. Specifically, with respect to

these pollutants, Defendant has violated its monthly average effluent concentration

limitations thirty-seven times in the last five years and daily maximum or

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instantaneous maximum effluent concentration limitations forty-three times in the

last five years, as well as its minimum effluent concentration for dissolved oxygen

four times.

      102. The following are Defendant’s violations of the monthly average

effluent concentration limit for TSS (limit 30.0 mg/L) at Outfall 001:

                        Date         Effluent TSS (mg/L)

                        Jun. 2017    35.0
                        Feb. 2018    32.0
                        Nov. 2018    36.0
                        Sep. 2019    33.0
                        Oct. 2019    33.0
                        Nov. 2019    65.0
                        Dec. 2019    45.0
                        Jan. 2020    39.0
                        Feb. 2020    33.0
                        Mar. 2020    38.0
                        Apr. 2020    59.0
                        May 2020     48.0
                        Jun. 2020    37.0
                        Jul. 2020    37.0
                        Nov. 2020    78.0
                        Dec. 2020    32.0
                        Jan. 2021    67.0
                        Feb. 2021    70.0
                        Mar. 2021    51.0

      103. The following are Defendant’s violations of the monthly average

effluent concentration limit for CBOD5 at Outfall 001:

              Date      Effluent CBOD5 (mg/L) Limit (mg/L)
              Oct. 2019 15.7                  10.0
              Nov. 2019 65.06                 18.0

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              Dec. 2019    26.8                        18.0
              Jan. 2020    22.6                        18.0
              Jul. 2020    20.3                        10.0
              Aug. 2020    24.3                        10.0
              Oct. 2020    35.8                        10.0
              Nov. 2020    18.5                        18.0
              Jan. 2021    101.5                       18.0
              Feb. 2021    85.4                        18.0
              Mar. 2021    45.5                        18.0

      104. The following are Defendant’s violations of the monthly average

effluent concentration limit for ammonia-nitrogen at Outfall 001:

                 Date         Effluent Ammonia-      Limit (mg/L)
                              Nitrogen (mg/L)
                 Aug. 2017    1.044                  1.0
                 Oct. 2017    1.28                   1.0
                 Jul. 2020    3.6                    1.0
                 Aug. 2020    1.821                  1.0
                 Sep. 2020    1.92                   1.0
                 May 2021     1.895                  1.0
                 Jun. 2021    1.047                  1.0

      105. The following are Defendant’s violations of the daily maximum

effluent concentration limit for TSS (limit 60.0 mg/L) at Outfall 001:

                        Date         Effluent TSS (mg/L)
                        Apr. 2018    316.0
                        May 2018     86.0
                        Nov. 2019    163.0
                        Dec. 2019    111.0
                        Jan. 2020    85.0
                        Feb. 2020    69.0
                        Apr. 2020    104.0
                        May 2020     80.0
                        Jun. 2020    70.0
                        Oct. 2020    174.0

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                        Nov. 2020    80.0
                        Dec. 2020    76.0
                        Jan. 2021    97.0
                        Feb. 2021    122.0
                        Mar. 2021    85.0
                        Apr. 2021    62.0

      106. The following are Defendant’s violations of the daily maximum

effluent concentration limit for CBOD5 at Outfall 001:

              Date         Effluent CBOD5 (mg/L)         Limit (mg/L)
              May 2018     16.1                          15.0
              Oct. 2019    79.1                          15.0
              Nov. 2019    124.0                         27.0
              Dec. 2019    81.7                          27.0
              Jan. 2020    43.0                          27.0
              Mar. 2020    65.8                          27.0
              Apr. 2020    34.0                          27.0
              Jun. 2020    23.6                          15.0
              Jul. 2020    48.2                          15.0
              Aug. 2020    49.0                          15.0
              Oct. 2020    135.0                         15.0
              Nov. 2020    52.6                          27.0
              Dec. 2020    36.0                          27.0
              Jan. 2021    179.0                         27.0
              Feb. 2021    250.0                         27.0
              Mar. 2021    115.0                         27.0

      107. The following are Defendant’s violations of the daily maximum

effluent concentration limit for ammonia-nitrogen at Outfall 001:

        Date        Effluent Ammonia-Nitrogen (mg/L)          Limit (mg/L)
        Jul. 2017   2.49                                      2.0
        Oct. 2017   3.38                                      2.0
        Jul. 2019   2.87                                      2.0
        Jul. 2020   10.2                                      2.0
        Aug.2020    3.81                                      2.0

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        Sep. 2020 4.06                                        2.0
        May 2021 2.81                                         2.0

      108.   The following are Defendant’s violations of the instantaneous

maximum effluent concentration limit for fecal coliform at Outfall 001:

               Date      Effluent Fecal Coliform       Limit
                         (CFU/100 ml)                  (CFU/100 ml)
               Aug. 2016 4,300                         1,000
               Sep. 2016 13,500                        1,000
               Oct. 2020 26,300                        10,000
               Feb. 2021 29,000                        10,000

      109. The following are Defendant’s violations of the minimum

concentration limit for dissolved oxygen (5.0 mg/L minimum) at Outfall 001:

                         Date         Effluent DO (mg/L)
                         Sep. 2016    4.8
                         Nov. 2019    4.3
                         Dec. 2019    4.4
                         Nov. 2020    4.0

      110. Defendant violated the 2015 NPDES Permit, section 301(a) of the

CWA, and sections 301 and 307 of the CSL, by discharging pollutants from

Outfall 001 in excess of the effluent concentration limitations set forth in the 2015

NPDES Permit. 33 U.S.C. § 1311(a); 35 P.S. §§ 691.301, 691.307.

      111. Given that these violations are chronic, varied, and consistent, upon

information and belief, the violations are ongoing and will continue.

      112. Each day a daily maximum or instantaneous maximum limit is

exceeded for a particular pollutant is a separate violation of the 2015 NPDES


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Permit, the CWA, and the CSL, for which a penalty can be assessed against

Defendant. In addition, each day of each month where a monthly discharge limit is

exceeded for a particular pollutant is a separate violation of the 2015 NPDES

Permit, the CWA, and the CSL, for which a penalty can be assessed against

Defendant.

       113. Defendant is subject to a civil penalty under the CWA of up to

$56,460 per day for each violation that occurred after November 2, 2015. 40

C.F.R. § 19.4 tbl. 1; 33 U.S.C. §§ 1319(d), 1365(a). Defendant is subject to a civil

penalty under the CSL of up to $10,000 per day for each violation. 35 P.S.

§ 691.605(a).

       114. Pursuant to section 505(d) of the CWA, and section 601(g) of the

CSL, Plaintiff is entitled to and seeks recovery of all costs of litigation, including

attorney’s fees and future oversight costs, regarding all violations alleged herein.

Count 2: Violations of Effluent Load Limitations of the 2015 NPDES Permit

       115.     Each paragraph alleged above is incorporated by reference herein as

if restated in full.

       116. The 2015 NPDES Permit imposes effluent load limits for several

pollutants discharged from Outfall 001 at the Facility.

       117. Defendant has been in violation of its CBOD5, TSS, and ammonia-

nitrogen effluent load limitations for Outfall 001 seventy-six times in the last five


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years. Specifically, for these pollutants, Defendant has violated its monthly average

effluent load limitations thirty-five times in the last five years and daily maximum

effluent load limitations forty-one times in the last five years.

      118. The following are Defendant’s violations of the monthly average

effluent load limit for TSS (limit 210 lbs/day) at Outfall 001:

                         Date         Effluent TSS (lbs/day)
                         Feb. 2018    216
                         Apr. 2018    299
                         Sep. 2019    277
                         Oct. 2019    255
                         Nov. 2019    401
                         Jan. 2020    267
                         Mar. 2020    273
                         Apr. 2020    403
                         May 2020     334
                         Jun. 2020    369
                         Jul. 2020    310
                         Oct. 2020    861
                         Nov. 2020    348
                         Dec.2020     218
                         Jan. 2021    621
                         Feb. 2021    300
                         Mar. 2021    278

      119. The following are Defendant’s violations of the monthly average

effluent load limit for CBOD5 at Outfall 001:

              Date      Effluent CBOD5 (lbs/day) Limit
                                                 (lbs/day)
              Oct. 2019 107                      70
              Nov. 2019 378                      126
              Jan. 2020 149                      126
              Mar. 2020 136                      126

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             Jun. 2020    94                             70
             Jul. 2020    170                            70
             Aug. 2020    215                            70
             Sep. 2020    74                             70
             Oct. 2020    405                            70
             Nov. 2020    138                            126
             Jan. 2021    1006                           126
             Feb. 2021    320                            126
             Mar. 2021    231                            126

      120. The following are Defendant’s violations of the monthly average

effluent load limit for ammonia-nitrogen at Outfall 001:

      Date         Effluent Ammonia-Nitrogen (lbs/day)            Limit (lbs/day)
      Oct. 2017    9                                              7
      Jul. 2020    25                                             7
      Aug. 2020    15                                             7
      Sep. 2020    23                                             7
      May 2021     11                                             7

      121. The following are Defendant’s violations of the daily maximum

effluent load limit for TSS (limit 420 lbs/day) at Outfall 001:

                        Date         Effluent TSS (lbs/day)
                        May 2017     460
                        Apr. 2018    1911
                        Nov. 2019    1177
                        Dec. 2019    485
                        Jan. 2020    682
                        Feb. 2020    445
                        Mar. 2020    683
                        Apr. 2020    713
                        May 2020     653
                        Jun. 2020    792
                        Jul. 2020    506
                        Aug. 2020    448
                        Oct. 2020    2106

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                        Nov. 2020   759
                        Dec. 2020   551
                        Jan. 2021   733
                        Feb. 2021   549
                        Mar. 2021   567

      122. The following are Defendant’s violations of the daily maximum

effluent load limit for CBOD5 at Outfall 001:

            Date         Effluent CBOD5 (lbs/day)      Limit (lbs/day)
            Oct. 2019    451                           105
            Nov. 2019    715                           189
            Dec. 2019    362                           189
            Jan. 2020    274                           189
            Mar. 2020    762                           189
            Apr. 2020    218                           189
            Jun. 2020    252                           105
            Jul. 2020    461                           105
            Aug. 2020    522                           105
            Sep. 2020    135                           105
            Oct. 2020    1634                          105
            Nov. 2020    310                           189
            Dec. 2020    261                           189
            Jan. 2021    2244                          189
            Feb. 2021    667                           189
            Mar. 2021    635                           189

      123. The following are Defendant’s violations of the daily maximum

effluent load limit for ammonia-nitrogen at Outfall 001:

          Date        Effluent Ammonia-N (lbs/day)         Limit (lbs/day)
          Jul. 2017   17                                   14
          Oct. 2017   35                                   14
          Jul. 2019   22                                   14
          Jul. 2020   67                                   14
          Aug. 2020   35                                   14
          Sep. 2020   53                                   14

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          May 2021 20                                       14

      124. Defendant violated the 2015 NPDES Permit, section 301(a) of the

CWA, and sections 301 and 307 of the CSL by discharging pollutants from Outfall

001 in excess of the effluent load limitations set forth in the 2015 NPDES Permit.

33 U.S.C. § 1311(a); 35 P.S. §§ 691.301, 691.307.

      125. Given that these violations are chronic, varied, and consistent, upon

information and belief, the violations are ongoing and will continue.

      126. Each day a daily maximum is exceeded for a particular pollutant is a

separate violation of the 2015 NPDES Permit, the CWA, and the CSL, for which a

penalty can be assessed against Defendant. In addition, each day of each month

where a monthly discharge limit is exceeded for a particular pollutant is a separate

violation for which a penalty can be assessed against Defendant.

      127. Defendant is subject to a civil penalty under the CWA of up to

$56,460 per day for each violation that occurred after November 2, 2015. 40

C.F.R. § 19.4 tbl. 1; 33 U.S.C. §§ 1319(d), 1365(a). Defendant is subject to a civil

penalty under the CSL of up to $10,000 per day for each violation. 35 P.S.

§ 691.605(a).

      128. Pursuant to section 505(d) of the CWA, and section 601(g) of the

CSL, Plaintiff is entitled to and seeks recovery of all costs of litigation, including

attorney’s fees and future oversight costs, regarding all violations alleged herein.


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Count 3: Violations of Temperature Effluent Limitations in the 2015 NPDES
Permit

       129. Each paragraph alleged above is incorporated by reference herein as if

restated in full.

       130. Since the effective date of the temperature limits in the 2015 NPDES

Permit on October 1, 2018, Defendant has violated the limitations for Outfall 001

once in 2018, three times in 2019, six times in 2020 and five times in 2021 based

on the currently available data:

                    Date              Temperature       Limit
                                      (ºF)              (ºF)
                    Dec. 2018         60.0              50.0
                    Nov. 2019 (1-15) 83.0               69.0
                    Nov. 2019 (16-31) 81.0              59.0
                    Dec. 2019         90.0              50.0
                    Jan. 2020         83.0              51.0
                    Feb. 2020         60.0              52.0
                    Oct. 2020 (16-31) 85.0              76.0
                    Nov. 2020 (1-15) 84.0               69.0
                    Nov. 2020 (16-31) 86.0              59.0
                    Dec. 2020         87.0              50.0
                    Jan. 2021         82.0              51.0
                    Feb. 2021         97.0              52.0
                    Mar. 2021         95.0              74.0
                    Apr. 2021 (1-15)  99.0              83.0
                    Apr. 2021 (16-30) 96.0              89.0

       131. Defendant violated the 2015 NPDES Permit, section 301(a) of the

CWA, and sections 301 and 307 of the CSL, by discharging wastewater from

Outfall 001 at temperatures in excess of the permit limitations. 33 U.S.C. §

1311(a); 35 P.S. §§ 691.301, 691.307.
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       132. Given that these violations are chronic and consistent, upon

information and belief, the violations are ongoing and will continue.

       133. Each day of violation of the daily maximum temperature effluent

limitations constitutes a separate violation of the 2015 NPDES Permit, the CWA,

and the CSL. Under the CWA, Defendant is subject to a penalty of up to $56,460

per day for each violation, and pursuant to the CSL, Defendant is subject to a

penalty of up to $10,000 per day for each violation.

       134. Pursuant to section 505(d) of the CWA, and section 601(g) of the

CSL, Plaintiff is entitled to and seeks recovery of all costs of litigation, including

attorney’s fees and future oversight costs, regarding all violations alleged herein.

Count 4: Failure to Properly Operate and Maintain Facilities Under the 2015
NPDES Permit

       135. Each paragraph alleged above is incorporated by reference herein as if

restated in full.

       136. DEP inspection reports from April 18, 2019, July 9, 2020, and

February 4, 2021, reveal a pattern of failures to properly operate and maintain the

Facility, including the WWTP, and the control and treatment systems installed or

used to achieve compliance with the 2015 NPDES Permit. See Exhibit 1, NOI,

Attachment B, July 9, 2020 Inspection Report; id., Attachment E, Apr. 18, 2019

Inspection Report; id., Attachment K, Feb. 4, 2021 Inspection Report.



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      137. According to the inspection reports, problems with operating

parameters of bio-reactor #2 and solids carryover in clarifiers #3 and #4 appear to

be continuous problems that have not been addressed. The Feb. 4, 2021 Inspection

Report highlighted several additional new potential problems that must be

corrected, including, inter alia, water level fluctuation and overflow of the cooling

water flow metering pit, repairs needed on bio-reactor #1, and discharge from

lagoon #2, polishing ponds, and Outfall 002 appearing turbid with a brown tint and

containing visible suspended solids. See Exhibit 1, NOI, Attachment K, Feb. 4,

2021 Inspection Report. These concerns identified by DEP all reflect continuous

problems with operation and maintenance of the Facility, including the WWTP.

Chronic effluent exceedances, as described in Counts 1-3 above, provide further

proof of systemic operation and maintenance failures.

      138. Upon information and belief, and given the chronic and continuing

nature of the effluent violations, operation and maintenance violations are

continuing and date back more than five years. The Detailed Facility Report for the

Facility on the Enforcement and Compliance History Online (ECHO) database also

indicates that inadequate operation and maintenance is continuing.

      139. Defendant is violating the 2015 NPDES Permit, section 301(a) of the

CWA, and sections 301 and 307 of the CSL by failing to properly operate and

maintain its treatment systems. 33 U.S.C. § 1311(a); 35 P.S. §§ 691.301, 691.307.


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       140. Defendant is subject to civil penalties each day of violation dating

from the start of improper operation and maintenance. Defendant is subject to a

penalty of up to $56,460 for each day of violation of the 2015 NPDES Permit and

the CWA for failure to properly operate and maintain all facilities of treatment and

control. Each day is also a violation of the CSL for which a penalty of up to

$10,000 can be imposed.

       141. Pursuant to section 505(d) of the CWA, and section 601(g) of the

CSL, Plaintiff is entitled to and seeks recovery of all costs of litigation, including

attorney’s fees and future oversight costs, regarding all violations alleged herein.

Count 5: Unauthorized Discharge of Substances that Result in Observed
Deposits in, or Produce an Observed Change in the Color or Turbidity of, the
Receiving Water

       142. Each paragraph alleged above is incorporated by reference herein as if

restated in full.

       143. The 2015 NPDES Permit prohibits the discharge of substances that

result in observed deposits in the receiving water and substances that produce an

observed change in color or turbidity of the receiving water.

       144. At DEP’s February 4, 2021 inspection, it observed that discharge from

Outfall 002 contained visible suspended solids and the discharge from Outfall 001

created a visible difference in water quality in Oil Creek twenty meters

downstream of the outfall. This included both a color change and change in


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turbidity compared with the water upstream. These observations and the photos

from the Feb. 4, 2021 Inspection Report indicate violations of the prohibitions set

forth in the 2015 NPDES Permit. Exhibit 1, NOI, Attachment K, Feb. 4, 2021

Inspection Report.

       145. In EPA’s March 4, 2021 Inspection Report, based on its February 4,

2021 inspection, EPA also described Oil Creek as “cloudy and turbid at the point

of discharge [from Outfall 001] and sphaerotilus bacterial growth was observed in

the vicinity.” EPA also noted that solids accumulation was observed in Oil Creek

“in the vicinity of Outfall 001 . . . .”

       146. Discharges prohibited by the 2015 NPDES Permit constitute

violations of the 2015 NPDES Permit, section 301(a) of the CWA, and sections

301 and 307 of the CSL. 33 U.S.C. § 1311(a); 35 P.S. §§ 691.301, 691.307

       147. Given the ongoing operation and maintenance issues DEP has

identified at each on-site inspection since April 18, 2019, and the many operation

and maintenance issues specifically identified at the Feb. 4, 2021 inspection that

are likely to contribute to deposits, turbidity, and change in color of the receiving

waterbody, the prohibited discharges, upon information and belief, remain

unabated and continue.




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       148. Pursuant to section 505(d) of the CWA, and section 601(g) of the

CSL, Plaintiff is entitled to and seeks recovery of all costs of litigation, including

attorney’s fees and future oversight costs, regarding all violations alleged herein.

Count 6: Violations of Effluent Load Limitations and Flow Limitations of the
2016 Pretreatment Permit and Flow Limitations of the 2021 Pretreatment
Permit

       149. Each paragraph alleged above is incorporated by reference herein as if

restated in full.

       150. Defendant has discharged BOD and ammonia-nitrogen to the Penn

Township WWTP at levels that exceed the permitted daily maximum load limits of

the 2016 Pretreatment Permit.

       151. The following are Defendant’s violations of the daily maximum

effluent load limit for BOD in the 2016 Pretreatment Permit to Penn Township

WWTP (limit 1,500 lbs/day):

                        Date              Effluent BOD
                                          (lbs/day)
                        Nov. 12, 2018     1,998
                        Feb. 7, 2019      1,529
                        Nov. 7, 2019      1,741
                        Nov. 12, 2019     2,479
                        Nov. 19, 2019     3,222
                        Nov. 26, 2019     3,337
                        Dec. 5, 2019      2,326
                        Dec. 17, 2019     2,494
                        Jan. 10, 2020     1,903
                        Jan. 28, 2020     1,800
                        Dec. 8, 2020      1,740
                        Dec. 15, 2020     2,769
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      152. The following are Defendant’s violations of the daily maximum

effluent load limit for ammonia-nitrogen (limit 225 lbs/day) to Penn Township

WWTP:

                       Date             Effluent ammonia-
                                        nitrogen (lbs/day)
                       Mar. 8, 2018     288
                       Jun. 7, 2018     256
                       Jun. 12, 2018    243
                       Sep. 6, 2018     249
                       May 29, 2019     239
                       July 23, 2019    253
                       Sep. 16, 2019    256

      153. Defendant has discharged, and is discharging, wastewater to the Penn

Township WWTP exceeding the permitted average monthly flow of 450,000

gallons per day and peak maximum daily flow of 700,000 gallons per day.

      154. The following are Defendant’s discharges to Penn Township WWTP

in violation of the 700,000 gallons per day peak maximum daily flow limit:

                       Date            Maximum Flow
                                       (mgd)
                       Dec. 2016       0.783
                       Aug. 2018       0.707
                       Sep. 2018       0.760
                       Oct. 2018       0.732
                       Nov. 2018       0.768

      155. The following are Defendant’s discharges to Penn Township WWTP

in violation of the 450,000 gallons per day monthly average flow:




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                         Date        Average Flow
                                     (mgd)
                         Aug. 2016   0.493
                         Sep. 2016   0.477
                         Oct. 2016   0.532
                         Aug. 2018   0.598
                         Sep. 2018   0.661
                         Oct. 2018   0.618
                         Nov. 2018   0.594
                         Apr. 2019   0.463
                         Aug. 2019   0.456
                         Oct. 2019   0.469
                         Nov. 2019   0.551
                         Dec. 2019   0.470
                         Feb. 2021   0.532
                         Mar. 2021   0.547
                         Apr. 2021   0.451
                         May 2021    0.451
                         Jun. 2021   0.502

      156. Defendant violated the 2016 Pretreatment Permit, the 2021

Pretreatment Permit, and sections 301(a) and 307(d) of the CWA, by discharging

wastewater to Penn Township WWTP in excess of the permit limitations. 33

U.S.C. § 1311(a); 33 U.S.C. § 1317(d).

      157. Upon information and belief, given the chronic nature of

noncompliance and ongoing inadequate operation and maintenance of the Facility,

including the WWTP, the violations of the pretreatment effluent load and flow

limits are continuing.

      158. Each day of each daily maximum effluent load limitation exceedance

constitutes a separate violation of the 2016 Pretreatment Permit and CWA and

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subjects Hanover Foods to a penalty of up to $56,460. Each day of the month in

which the discharged wastewater exceeded the monthly average flow limit is a

separate violation of the applicable 2016 or 2021 Pretreatment Permit and the

CWA, for which a penalty of up to $56,460 can be assessed. Each day of an

exceedance of the peak maximum daily flow is a separate violation of the 2016

Pretreatment Permit and the CWA, for which a penalty of up to $56,460 can be

assessed.

      159. Pursuant to section 505(d) of the CWA, Plaintiff is entitled to and

seeks recovery of all costs of litigation, including attorney’s fees and future

oversight costs, regarding all violations alleged herein.


                              PRAYER FOR RELIEF


      WHEREFORE, Plaintiff respectfully requests that this Court:


      A.     Declare that Defendant is in violation of its permits, the CWA, and the

             CSL;

      B.     Enjoin Defendant from further violating its permits, the CWA, and the

             CSL;

      C.     Order Defendant to assess and remediate the harm caused by its

             violations;

      D.     Assess civil penalties against Defendant;

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        E.     Award Plaintiff the cost of litigation, including reasonable attorney’s

               fees, costs, and expert fees and expenses, including future oversight

               costs;

        F.     Retain jurisdiction to ensure compliance with the Court’s decree; and

        G.     Grant such other relief as the Court deems just and proper.

        Date: September 24, 2021

                                            Respectfully submitted,

                                            /s/ Lisa Widawsky Hallowell
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*
    Petition for Special Admission under Local Rule 83.8.2.1 pending.
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Exhibit 1 Notice of Intent to Sue Hanover Foods Corporation and Attachments
        Part 1 of 3 Notice of Intent to Sue Hanover Foods Corporation
                    Attachment A: 2015 NPDES Permit Fact Sheet
                    Attachment B: July 9, 2020 Inspection Report
                    Attachment C: Excerpts from 2020 NPDES Permit Renewal
                    Application
        Part 2 of 3 Attachment D: 2015 NPDES Permit No. PA0044741
                    Attachment E: Apr. 18, 2019 Inspection Report
                    Attachment F: Oct. 9, 2020 Hanover Foods Letter to DEP re
                    NPDES Permit
                    Attachment G: July 9, 2019 NOV
                    Attachment H: Aug. 26, 2020 NOV
                    Attachment I: Dec. 29, 2020 NOV
                    Attachment J: Jan. 28, 2021 Inspection Report
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                    Attachment L: 2021 Pretreatment Permit, No. 2021-4
        Part 3 of 3 Attachment M: 2016 Pretreatment Permit, No. 2016-4
                    Attachment O: 14 July 23, 2019 Hanover Foods Letter to DEP re
                    NPDES Permit




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     Attachment N Omitted.
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